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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Norfolk Division
HARRY HARLESS,
Plaintiff,
v. CIVIL ACTION NO. 2:19- cv-665
U-HAUL CO. OF VIRGINIA, et al,
Defendants.
ORDER

Before the Court is the above-styled case in which the Court granted a STAY on March
25, 2020, to permit the parties to submit to arbitration. On April 15, 2022, the parties in a Joint
Status Report advised the Court that the Arbitrator has ruled in favor of the Defendant and against
the Plaintiff. The Arbitrator’s Order on Summary Judgment was attached to the report. The
Order indicates that this Order is in full settlement of all claims submitted in arbitration and all
claims not expressly granted herein have been considered and are hereby denied. Accordingly, it
iS,

ORDERED that the STAY is hereby LIFTED, this case is CLOSED on the docket and
DISMISSED.

The Clerk is directed to provide counsel copies of this Order.

IT IS SO ORDERED.

Norfolk, Virginia Raymond Af Jackéon
May#é, 2022 United States District Judge
